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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 1:20-cv-21887-GAYLES

  COMMODITY FUTURES TRADING COMMISSION,

         Plaintiff,

  v.

  DANIEL FINGERHUT,
  DIGITAL PLATINUM, INC.,
  DIGITAL PLATINUM, LTD.,
  HUF MEDIYA (A.K.A. HOOF MEDIA),
  TAL VALARIOLA, and ITAY BARAK,

         Defendants,

  AICEL CARBONERO,

        Relief Defendant.
  ________________________________________________/

                       ORDER RESETTING SHOW CAUSE HEARING

         THIS CAUSE comes before the Court following the Court’s Order, [ECF No. 126],

  directing Defendant Daniel Fingerhut and Plaintiff Commodity Futures Trading Commission (the

  “CFTC”) to submit filings related to Fingerhut’s compliance and/or noncompliance with the

  Court’s Order Appointing Temporary Receiver (the “Appointment Order”), [ECF No. 33].

         On June 7, 2020, the Court granted the Temporary Receiver’s Motion for an Order to Show

  Cause Why Defendant Daniel Fingerhut Should Not be Held in Contempt of Court for Refusal to

  Comply with the Appointment Order and ordered Fingerhut to appear before the Court by video

  conference on June 17, 2020. [ECF No. 100]. Fingerhut did not appear before the Court at the

  hearing on June 17, 2020. On June 25, 2020, the Court reset the show cause hearing for July 8,

  2020. On July 7, 2020, following a telephonic conference with the parties, the Court ordered

  Fingerhut to submit a document stating whether he had complied with the Appointment Order and,


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  for any provision with which he had not complied, specifying the basis for his noncompliance.

  [ECF No. 126]. The Court also directed the CFTC to respond to Fingerhut’s submission within

  five days of his filing. Id. On July 13, 2020, Fingerhut filed his submission, [ECF No. 128], and

  the CFTC later filed its response, [ECF No. 133]. At a hearing held on July 28, 2020, the Court

  reset the show cause hearing for August 19, 2020, at 1:30 PM.

         Based thereon, it is ORDERED AND ADJUDGED that:

         1.     Fingerhut shall appear before the Court by video conference on August 19, 2020,

                at 1:30 PM and show cause why he should not be held in contempt of Court for

                violating the Appointment Order, [ECF No. 33], including, without limitation, by

                failing to:

                a)      provide a full detailed accounting of all funds, records, and assets;

                b)      transfer and deliver to the possession of the Temporary Receiver all records,

                        funds, and assets;

                c)      provide the Temporary Receiver access to all records of accounts or assets

                        held by financial or brokerage institutions;

                d)      deliver to the Temporary Receiver possession and custody of all funds,

                        assets, property, and all other assets, owned beneficially or otherwise,

                        wherever situated;

                e)      cooperate with and respond to the requests of the Temporary Receiver; and

                f)      comply with all other requirements of the Defendants as set forth in the

                        Appointment Order, [ECF No. 33 at 5–7].

         2.     Fingerhut must also show cause why he should not be (i) sanctioned on a per diem

                basis until he complies with the requirements of the Appointment Order and (ii)



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              held liable for the legal fees incurred by the Temporary Receiver in bringing the

              Motion before the Court.

        3.    The Court will provide the parties with the necessary dial-in information prior to

              the hearing.

        DONE AND ORDERED in Chambers in Miami, Florida, this 28th day of July, 2020.




                                                   _______________________________
                                                   DARRIN P. GAYLES
                                                   UNITED STATES DISTRICT JUDGE




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